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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


UNITED STATES OF AMERICA                        )
                                                )
            v.                                  )     Case No. 1:16CR228
                                                )
RUSLANS BONDARS                                 )
                                                )
            Defendant.                          )


                                   MOTION TO SEAL

       COMES NOW the defendant, Ruslans Bondars, by counsel, and respectfully

moves this Honorable Court for an order sealing Defendant’s Motion provisionally filed

under seal on February 14, 2018. The defendant makes this motion because the

Government requested he do so. The defendant anticipates the Government will support

its request for sealing prior to, or during, the hearing on February 16, 2018 at 9:00 a.m.




                                              Respectfully Submitted,
                                              RUSLANS BONDARS
                                              By Counsel
                                              HARRIS & CARMICHAEL, PLLC
                                              ______/s/___________
                                              Jessica N. Carmichael, Virginia Bar 78339
                                              Counsel for Defendant
                                              108 N. Alfred Street, 1st Floor
                                              Alexandria, Virginia 22314
                                              (703) 684-7908
                                              jcarmichael@harriscarmichael.com
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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of February, 2018, I will electronically file
the foregoing pleading with the Clerk of Court using the CM/ECF system, which will
then send a notification of such filing (NEF) to all parties in this action.




                                                       ____/s/______________
                                                       Jessica N. Carmichael
                                                       Virginia Bar 78339
                                                       Counsel for Defendant
                                                       108 N. Alfred Street
                                                       Alexandria, Virginia 22314
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